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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NORTH DAKOTA
                             WESTERN DIVISION

CONTINENTAL RESOURCES, INC., )
                             )                      STIPULATED PROTECTIVE
              Plaintiff,     )                      AND NON-WAIVER ORDER
                             )
         v.                  )                      Civil No. 1:16-cv-91 DLH-CRH
                             )
RINK CONSTRUCTION, INC.,     )
                             )
              Defendant.     )
                             )

CLARE R. HOCHHALTER, United States Magistrate Judge.

       Upon stipulation of the parties for an order providing that confidential information

be disclosed only in designated ways, and the Court having found that good cause exists

for issuance of an appropriately tailored confidentiality order governing the pre-trial phase

of this action, it is hereby ORDERED that any person subject to this Order–including

without limitation the parties to this action, their attorneys, representatives, agents, experts

and consultants, acting as such, all third parties providing discovery in this action, and all

other interested persons with actual or constructive notice of this Order shall adhere to the

following terms:

Discovery Materials May Be Designated as Confidential

       1.     Any person subject to this Order who receives from any other person any

“Discovery Material” (i.e., information of any kind provided in the course of discovery

in this action) that is designated as “Confidential” pursuant to the terms of this Order shall
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not disclose such Confidential Discovery Material to anyone else except as expressly

permitted hereunder.

       2.     The person producing Discovery Material may designate as “Confidential”

any portion thereof that contains non-public business, commercial, financial, or personal

information (for example, and without limitation, the invoices generated by Continental’s

attorneys that Continental produces in this action), the public disclosure of which is either

restricted by law or would likely, in the good faith opinion of the producing person,

seriously harm the producing person’s business, commercial, financial, or personal

interests or cause the producing person to violate his, her, or its privacy or confidentiality

obligations to others. Where the confidential portion is reasonably separable from the non-

confidential portion, via redaction or otherwise, only the confidential portion shall be so

designated.

       3.     With respect to the confidential portion of any Discovery Material other

than deposition transcripts and exhibits, the producing person or that person’s counsel

may designate such portion as “Confidential” by stamping or otherwise clearly marking

as “Confidential” the document or protected portion in a manner that will not interfere

with legibility or audibility. Deposition testimony may be designated as “Confidential”

either on the record during the deposition or in writing within five (5) business days of

receipt of the transcript. If so designated, the final transcript of the designated testimony




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shall be bound in a separate volume and marked “Confidential Information Governed by

Protective Order” by the reporter.

       4.     If at any time prior to the trial of this action, a producing person realizes that

some portion of Discovery Material that that person previously produced without

limitation should be designated as “Confidential,” the producing person may so designate

that portion by promptly notifying all parties in writing. Such designated portion of the

Discovery Material will thereafter be treated as Confidential under the terms of this Order.

In addition, the producing person shall provide each other party with replacement versions

of such Discovery Material that bears the “Confidential” designation within two (2)

business days of providing such notice.

Who May Receive Confidential Materials

       5.     No person subject to this Order, other than the producing person, shall

disclose any Confidential Discovery Material to any other person whomsoever, except to:

              (a)    the parties to this action;

              (b)    counsel retained specifically for this action, including any paralegal,

                     clerical or other assistant employed by such counsel and assigned

                     specifically to work on this action;

              (c)    as to any document, its author, its addressee, and any other person

                     shown on the face of the document as having received a copy;

              (d)    any witness who counsel for a party in good faith believes may be

                     called to testify at trial or deposition in this action, provided such




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                    person has first executed a Non-Disclosure Agreement in the form

                    annexed hereto;

             (e)    any person retained by a party to serve as an expert witness or

                    consultant or otherwise provide specialized advice to counsel in

                    connection with this action, provided such person has first executed a

                    Non-Disclosure Agreement in the form annexed hereto;

             (f)    stenographers and video technicians engaged to transcribe or record

                    depositions conducted in this action;

             (g)    independent photocopying, graphic production services, or other

                    litigation support services employed by the parties or their counsel to

                    assist in this action, including computer service personnel performing

                    duties in relation to a computerized litigation system;

             (h)    the Court and its staff; and

             (i)    any other person whom the producing person, or other person

                    designating the Discovery Material “Confidential,” agrees in writing

                    may have access to such Confidential Discovery Material.

      6.     Prior to the disclosure of any Confidential Discovery Material to any person

referred to in subparagraphs 5(d) or 5(e) above, such person shall be provided by counsel

with a copy of this Protective Order and shall sign a Non-Disclosure Agreement, in the

form annexed hereto, stating that that person has read this Order and agrees to be bound

by its terms. Counsel shall retain each signed Non-Disclosure Agreement, hold it in




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escrow, and produce it to opposing counsel either prior to such person being permitted to

testify (at deposition or trial) or at the conclusion of the case, whichever comes first.

Filing Confidential Materials in this Action

       7.      Any person who either objects to any designation of confidentiality, or who,

by contrast, requests still further limits on disclosure (such as “attorneys’ eyes only,”

reserved for extraordinary circumstances), may at any time prior to the trial of this action

serve upon the designating person and all other parties a written notice stating with

particularity the grounds of the objection or request. If agreement cannot be reached

promptly, counsel for all affected persons shall request a joint telephone call with the

Court to obtain a ruling or otherwise follow the Court’s rules and procedure for raising

discovery disputes with the Court.

       8.      Notwithstanding the designation of material as “Confidential” in discovery,

there is no presumption that such Confidential Discovery Material will be filed with the

Court under seal. The parties shall follow the appropriate rules and statutes with respect

to pretrial requests for filing under seal.

       9.      All persons are hereby placed on notice that the Court is unlikely to seal or

otherwise afford confidential treatment to any Discovery Material introduced in evidence

at trial, even if such material was previously designated as Confidential or sealed during

pretrial proceedings.

       10.     Each person who has access to Confidential Discovery Material shall take

all due precautions to prevent the unauthorized or inadvertent disclosure of such material.




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Inadvertent Disclosure of Privileged Materials

       11.    If, in connection with this litigation, a producing person inadvertently

discloses information subject to a claim of attorney-client privilege or attorney work

product protection (“Inadvertently Disclosed Information”), such disclosure, in itself,

shall not constitute or be deemed a waiver or forfeiture of any claim of privilege or work

product protection.

       12.    If a disclosing person makes a claim of inadvertent disclosure, all receiving

persons shall, within five (5) business days, return or destroy all copies of the

Inadvertently Disclosed Information, and confirm—in writing by the receiving party’s

counsel—that all such information has been returned or destroyed.

       13.    Within five (5) business days of the notification that such Inadvertently

Disclosed Information has been returned or destroyed, the disclosing person shall produce

a privilege log with respect to the Inadvertently Disclosed Information.

       14.    If a receiving person thereafter moves the Court for an order compelling

production of the Inadvertently Disclosed Information, that motion shall be filed under

seal in whole or in part (if permitted by the appropriate rules and statutes with respect to

pretrial requests for filing under seal), and shall not assert as a ground for entering such

an order the mere fact of the inadvertent production. The disclosing person retains the

burden of establishing the privileged or protected nature of any Inadvertently Disclosed

Information. Nothing in this Order shall limit the right of any party to request an in camera

review of the Inadvertently Disclosed Information.




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Serving This Protective Order on a Non-Party

         15.   Non-parties producing documents or providing deposition testimony in the

course of this action may also designate documents or testimony as “Confidential,”

subject to the same protections and constraints as the parties to the proceeding. A party

serving a subpoena on a non-party must simultaneously serve a copy of this protective

order.

Termination of the Litigation and Other Relief

         16.   This Protective Order shall survive the termination of the litigation.

                 (a)    Within 60 days after the termination of this action (including any

                        appeals), each party must return or destroy all confidential

                        documents; and notify the disclosing or producing party that it has

                        returned or destroyed all confidential documents within the 60-day

                        period.

                 (b)    Notwithstanding paragraph 16(a), each attorney may retain a copy

                        of any confidential document submitted to the Court and a copy of

                        any document (whether a filing, discovery response, or otherwise)

                        that quotes or describes the substance of a confidential document.

         17.   During the pendency of this case only, this Court shall retain jurisdiction

over all persons subject to this Order to the extent necessary to enforce any obligations

arising hereunder or to impose sanctions for any contempt thereof.




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Other Relief

       18.     This protective order shall not prevent any party from applying to the Court

for other forms of relief or for further or additional protective orders.


               *      *      *


SO STIPULATED.




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Dated: June 4, 2020

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                                             ATTORNEYS FOR DEFENDANT
                                             RINK CONSTRUCTION, INC.


IT IS SO ORDERED.


Dated this 4th day of June, 2020.           /s/ Clare R. Hochhalter
                                            Clare R. Hochhalter, Magistrate Judge
                                            United States District Court




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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NORTH DAKOTA
                                WESTERN DIVISION

CONTINENTAL RESOURCES, INC., )
                             )                    NON-DISCLOSURE AGREEMENT
              Plaintiff,     )
                             )
         v.                  )                    Civil No. 1:16-cv-91 DLH-CRH
                             )
RINK CONSTRUCTION, INC.,     )
                             )
              Defendant.     )
                             )


         I,                               [print name], acknowledge that I have read and

understand the Protective Order in this action governing the non-disclosure of those portions

of Discovery Material that have been designated as Confidential. I agree that I will not disclose

such Confidential Discovery Material to anyone other than for purposes of this litigation and

that at the conclusion of the litigation I will return all discovery information to the party or

attorney from whom I received it. By acknowledging these obligations under the Protective

Order, I understand that I am submitting myself to the jurisdiction of the United States District

Court for the District of North Dakota for the purpose of any issue or dispute arising hereunder

and that my willful violation of any term of the Protective Order could subject me to

punishment for contempt of Court.



Dated:                           _
                                               [Signature]
